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                                                                              EXHIBIT "A"




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION


                                                    )
GEORGE D. METZ, II
                                                    ) C/A No. 8:23-cv-01159-DCC-KFM
                      Plaintiff,                    )
                                                    )
      v.                                            )
                                                    )
CITY OF EASLEY, SOUTH CAROLINA,                     )
                   Defendant.                       )
                                                    )
                                                    )


 DEFENDANT, CITY OF EASLEY’S AMENDED ANSWER AND DEFENSES TO THE
                      PLAINTIFF’S COMPLAINT


       Defendant, City of Easley, South Carolina, (“Defendant”), while reserving all rights

afforded under any pending or concurrently filed motions contained herein, hereby answers the

Plaintiff’s Complaint (“Plaintiff’s Complaint”) filed in the above captioned action by George D.

Metz, II (“Plaintiff”), which consists of Entry Number 25 (6 pages) and Entry Number 25-2 (4

pages), and sets forth its defenses to the claims raised therein.

                                    FOR A FIRST DEFENSE


       1.      Defendant denies each and every allegation contained in the Plaintiff’s Complaint

where not hereinafter specifically admitted, modified, controverted, or explained.
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                                    Entry Number 25 - Complaint

       2.      Defendant lacks sufficient information to admit or deny the allegations of

Paragraph I (A) (“The Parties to the Complaint”) of the Plaintiff’s Complaint, and therefore, denies

the same.

       3.      Defendant admits the allegations of Paragraph I (B) (“The Parties to the

Complaint”) of the Plaintiff’s Complaint.

       4.      Defendant denies the allegations of Paragraph II (A and B, including all subparts)

(“Basis for Jurisdiction”).

       5.      Defendant denies the allegations of Paragraph III (“Statement of Claim”).

       6.      Defendant denies the allegations of Paragraph IV (“Relief”).

       7.      Defendant denies the allegations of Paragraph V (“Certification and Closing”).

                              Entry Number 25-2 (“Statement of Claim”)

       8.      Defendant lacks sufficient information to admit or deny the allegations of

Paragraph 1 of the Plaintiff’s Complaint, and therefore, denies the same.

       9.      Defendant denies the allegations of Paragraph 2 of the Complaint.

       10.     Defendant lacks sufficient information to admit or deny the allegations of

Paragraph 3 of the Plaintiff’s Complaint, and therefore, denies the same.

       11.     As to the allegations of Paragraph 4 of the Plaintiff’s Complaint, Defendant denies

that Ordinance 2022-33 (Title IX, Chapter 99, Section 99.01) is unconstitutional. Defendant lacks

sufficient information to admit or deny the remaining allegations of Paragraph 4, and therefore,

denies the same.




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       12.     Defendant lacks sufficient information to admit or deny the allegations of

Paragraphs 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, and 16 of the Plaintiff’s Complaint, and therefore,

denies the same. Defendant further submits that the allegations contained in said paragraphs may

be opinion statements or statements of law for which a response is not required.

       13.     Defendant denies the allegations of Paragraphs 17, 18, 19 and 20 of the Plaintiff’s

Complaint.

                                  FOR A SECOND DEFENSE
                                       (Rule 12(b)(6))

       14.     The Plaintiff’s Complaint fails, in whole or in part, to state a cause of action upon

which relief can be granted.

                                   FOR A THIRD DEFENSE

       15.     The Defendants assert that the alleged ordinance at issue in this case, and its acts in

 relation thereto are lawful, are within the power and authority and discretion of the Defendant as

 a municipal government and its employees, is not inconsistent with State or Federal law, is a valid

 exercise of the police power, and were adopted in good faith and in the public interest.

                                  FOR A FOURTH DEFENSE


       16.     The City’s decisions were within the sound and lawful discretion of the City

officials, were in accord with the criteria provided by State and Federal law and the provisions of

the pertinent City ordinances, were supported by the facts and evidence, were not arbitrary, were

not clearly erroneous, and were correct as a matter of law.




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                                    FOR A FIFTH DEFENSE

        17.     Defendants would show that at all times alleged in the Complaint, that they acted

in good faith and did not violate any clearly established right of the Plaintiffs.


                                    FOR A SIXTH DEFENSE

        18.     Defendants further allege and assert that any tort claims alleged against them are

subject to the immunities, defenses, and limitations as to liability, recovery, and damages set out

in the South Carolina Tort Claims Act, S.C. Code 15-78-10 et seq., including, but not limited to,

the exceptions to waiver of immunity in §15-78-60 (1), (2), (4), (5), (12), and (13), and the

limitations on damages and nature of damages in §15-78-120(a) and (b)

                                  FOR A SEVENTH DEFENSE

        19.     Plaintiff’s Complaint and the alleged damages are barred by the Doctrine of

Sovereign Immunity.

                                  FOR AN EIGHTH DEFENSE

        20.     As to any claims of the Plaintiff against the Defendants sounding in tort, the City

is immune from liability and resultant damages, if any, inasmuch as the City owed the Plaintiff no

duty or, in the alternative if a duty is found, that any duty is to the public at large. The City pleads

the public duty rule as a complete defense and bar to Plaintiff’s causes of action sounding in tort.


                                    FOR A NINTH DEFENSE


        21.     Plaintiff is barred from recovery of punitive damages against these Defendants

based upon S.C. Code Ann. §15-78-120(b).




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                                  FOR A TENTH DEFENSE

       22.     Plaintiff’s claim is barred, in whole or in part, by the doctrines of the estoppel,

waiver, release, laches, estoppel, and unclean hands.

                              FOR AN ELEVENTH DEFENSE

       23.     On March 10, 2025, the Defendant, through Ordinance 2025-1, amended Section

99.01 of Chapter 99 of Title IX of the Easley City Code the terms of which make Plaintiff’s

Complaint moot and void of any actual case or controversy. See U.S. Const., Article III, § 2.

       24.     Defendants reserve the right to amend this Answer to assert additional defenses as

they may arise during discovery and Defendants’ investigation of the allegations of Plaintiff’s

Complaint.

       WHEREFORE, Defendant, having fully answered the Complaint of Plaintiff, prays as

follows:

       1.      That this Court dismiss Plaintiff’s Complaint with prejudice;

       2.      That this Court award Defendants its costs and attorney’s fees for the cost of

defending this action; and,

       3.      For such and other further relief as this Court may deem just and equitable.

Respectfully submitted this 3rd day of June 2024.




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                                     DUGGAN & HUGHES, LLC

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